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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                   (Northern Division)

 EDWARD JOHN PALMER III,

       Plaintiff,

 v.                                                      CASE NO. 1:21-cv-00397-SAG

 JOHN W. TIEDER, INC., et al.,

        Defendants.


                           NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff, Edward John Palmer III, by and through undersigned counsel, and pursuant to

FRCP Rule 41(a)(1)(A)(i), hereby files this Notice of Dismissal of the above-captioned matter as

to all parties without prejudice.

Dated: June 3, 2021                         Respectfully submitted,

                                            FROST LAW


                                                   /s/ Sean P. Hatley
                                            Matthew P. Kraeuter (Federal Bar No. 29252)
                                            Sean P. Hatley (Federal Bar No. 20139)
                                            FROST LAW
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                                            Counsel for Plaintiff
                                            Edward John Palmer, III
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 3, 2021, the foregoing Notice of Voluntary Dismissal

was served via first-class mail, postage prepaid, and electronic mail to:

John W. Tieder, Inc.
736 Woods Road
Cambridge, MD 21613

John W. Tieder, Resident Agent of John W. Tieder, Inc.
736 Woods Road
Cambridge, MD 21613

Heather Moore
736 Woods Road,
Cambridge, MD 21613




                                                     /s/ Sean P. Hatley
                                              Sean P. Hatley




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